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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 _________________________________________________

 TRELLIAN PTY, LTD.,
                                                                             SEALING
                        Plaintiff/Counter Defendant                          ORDER

                 v.                                                       1:19-cv-05939-JPC-
                                                                          SLC
 ADMARKETPLACE, INC.

                   Defendant/Counter Claimant
 _________________________________________________

         Sarah L. Cave, United States Magistrate Judge.

                                                                   78 seeking to redact
         The Letter Motion of non-party Resilion, LLC, at ECF No. ____,

portions of the January 15, 2021 Motion to Compel Hearing Transcript, at ECF No. 74, is
               and good cause exists to redact the limited data identified in Resilion,
hereby GRANTED.
               LLC's Letter Motion from the January 15, 2021 Hearing Transcript.
         ORDERED, that the document filed at ECF No. 74 shall remain visible only to the

selected parties.

         The Clerk of Court is respectfully directed to close the Letter-Motion at ECF No.

 78
___.


Dated:         New York, New York
               January 28, 2021



                                                        Sarah L. Cave
                                                        United States Magistrate Judge
